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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY, individually and on behalf
   of those similarly situated,
                                                 Case No. 2:20-cv-12734-MAG-EAS
         Plaintiff,
   v.                                            Hon. Mark A. Goldsmith

   ABSOPURE WATER COMPANY, LLC
   a domestic limited liability company,

         Defendant.


             DEFENDANT ABSOPURE WATER COMPANY, LLC’S
                  STATEMENTS OF RELEVANT FACTS

        Defendant Absopure Water Company, LLC (“Defendant” or “Absopure”)

  provides these statements of relevant facts (“Statements”) pursuant to the Court’s

  May 19, 2023 Order Regarding Discovery (Dkt. 114) (“Order”). As per the Order,

  these Statements assert facts that are relevant to the interrogatories served by

  Defendant on each of the 26 Opt-In Plaintiffs (who, together with original Plaintiff

  Justin Guy, “Plaintiffs”) on May 1, 2023 and then limited in response to the

  Court’s direction. (See Defendant’s May 5, 2023 Memorandum in Support of

  Discovery Requests, pp. 2-4 (Dkt. No. 107)). For the sake of clarity, Defendant

  has separately numbered each of the Statements since they do not necessarily line

  up one-on-one with Defendant’s interrogatories.
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        These Statements are made based on information and writings currently

  available to, located by, and understood by Defendant upon reasonable

  investigation. However, given that 1) some information was lost by Defendant in a

  ransomware attack and Defendant does not yet know whether any or all of that

  data will be recoverable, 2) the scope of what may constitute “relevant” facts may

  change based on Plaintiffs’ required statements on June 2, and June 9, 2023 (See

  Order, ¶ 3) and other subsequent discovery in this matter, Defendant expressly

  reserves the right to modify, revise, supplement, or amended these Statements as it

  deems appropriate.


                       STATEMENTS OF RELEVANT FACTS

        DEFENDANT’S INTERROGATORY NOS. 1 AND 3

        1.    Identify the job titles or positions You held as part of Your
              employment with Absopure during the Relevant Time Period,
              including the dates You held such job titles or positions.

        3.    Identify the date(s) You received a commercial driver's license
              (“CDL”), if any, and the dates that any such CDLs expired, if any
              have.

        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 1.     The Plaintiffs in this case have been employed by

  Defendant in only one or both of two positions: Sales and Service Specialist (“Sales




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  Specialist”) and “Sales and Service Specialist Trainee” (“Sales Specialist Trainee,”

  and, together with Sale Specialists, “Specialists”).

        Statement No. 2.      All Specialists begin their employment with Defendant

  as Sales Specialist Trainees. Once a Sales Specialist Trainee has a) obtained their

  commercial driver's license (“CDL”), and b) has been assigned a regular route, he or

  she then becomes a Sales Specialist. Not all Sales Specialist Trainees stay employed

  by Defendant long enough to become Sales Specialists.

        Statement No. 3.      Below is a list of the positions held by Plaintiffs

  beginning October 8, 2017 and the dates those positions where held and information

  regarding each Plaintiff’s CDL. Further, attached as Exhibit A is a list of the bates

  number ranges with Plaintiffs’ driving records that provide CDL information.


                                                   Position    Position      CDL
         Plaintiff           Position(s)          Start Date   End Date     Received
                                                                              (earlier)
                                                                            8/10/2015
   Aniol, John             Sales Specialist        1/10/2000   3/29/2022    10/2/2018
                           Sales Specialist
   Armstead, Aaron         Trainee                 5/14/2018   9/21/2018          none
                           Sales Specialist
   Armstead, Dwane         Trainee                 6/11/2018   10/4/2018     4/5/2016
                           Sales Specialist
   Banks, Erick            Trainee                 4/23/2018   8/31/2018          none
                           Sales Specialist
   Belonga, Lucas          Trainee                  5/2/2022   1/29/2023    1/30/2023
                           Sales Specialist        1/30/2023      current
   Brown, Keith            Sales Specialist        12/4/2006    7/1/2020    12/4/2006


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                       Sales Specialist                                   Prior to
   Childs, Dannielle   Trainee                 12/5/2019     current       hiring
                       Sales Specialist
   Clendennin, Ryan    Trainee                 7/25/2017    7/6/2018         none
                       Sales Specialist                                   Prior to
   Fish, Caleb         Trainee                 4/30/2018     current       hiring
                       Sales Specialist
   Justin Guy          Trainee                 9/24/2018    2/4/2020        none
                       Sales Specialist
   Householder, Boaz   Trainee                  3/7/2022   4/22/2022        none
                       Sales Specialist
   Jacek, Shawn        Trainee                10/15/2018 11/27/2018         none
                       Sales Specialist
   Jackson, Matthew    Trainee                11/19/2018    2/8/2019        none
                       Sales Specialist
   Johnson, Gary       Trainee                 1/31/2022 11/14/2022    11/15/2022
                       Sales Specialist       11/15/2022     current
                       Sales Specialist
   Lammer, Ricardo     Trainee                  4/8/2019   8/11/2019
                       Sales Specialist        8/12/2019   10/3/2019    8/12/2019
                       Sales Specialist
   Newkirk, Antony     Trainee                12/20/2021   6/22/2022        none
                       Sales Specialist
   Okimoto, Paul       Trainee                 9/13/2021     current         none
                       Sales Specialist                                   Prior to
   Pemberton, Terry    Trainee                 2/21/2022   6/24/2022       hiring
                       Sales Specialist
   Perry, Charles      Trainee                 7/11/2016   10/5/2018        none
                       Sales Specialist
   Phipps, Kevin       Trainee                 9/11/2017   8/16/2021        none
                       Sales Specialist
   Redmer, Nathan      Trainee                 5/23/2022   11/3/2022        none
                       Sales Specialist
   Rhodes, Ryan        Trainee                 6/20/2022 current            none
                       Sales Specialist
   Skonieczny, Jesse   Trainee                  9/6/2022 current            none
                       Sales Specialist
   Sujkowski, David    Trainee                  2/1/2021   3/10/2022        none


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                         Sales Specialist
   Tampa, Jordan         Trainee                 8/26/2019    1/4/2022          none
                         Sales Specialist
   Winconek, Kyle        Trainee                 1/25/2021   3/27/2022
                         Sales Specialist        3/28/2022    7/6/2022     3/28/2022
                         Sales Specialist
   Woldt, George         Trainee                12/19/2022    2/2/2023          none

        DEFENDANT’S INTERROGATORYIES NOS. 2, 7 AND 8

        2.    Identify and describe the job duties and activities for each position
              You held as part of Your employment with Absopure during the
              Relevant Time Period.

        7.    Identify each day that You were employed by Absopure during the
              Relevant Time Period that you performed job duties prior to clocking
              in by placing Your employee badge next to the time clock and getting
              a signal from it at the Absopure facility out of which you worked and
              describe all such job duties that you performed, the amount of time it
              took you to perform those duties, and the circumstances that led You
              to performing those job duties prior to clocking in.

        8.    Describe the job duties You performed while employed by Absopure
              during the Relevant Time Period a) prior to checking out your truck
              by confirming the inventory on the truck with the hand-held device
              before making deliveries , and b) after checking in Your truck on the
              hand-held device after making deliveries and returning to Absopure’s
              facility, including describing the amount of time it took You to
              perform each set of such job duties, and including, if applicable,
              describing the typical job duties you performed and amount of time it
              took and identifying any substantially greater or lesser number of
              duties and longer or shorter times it took and the circumstances of and
              number of occurrences of such longer or shorter times.




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        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 4.      All Specialists have the same job responsibilities and

  engage in the same job activities. The manner and degree in which each Specialist

  carries out these responsibilities and activities can vary depending on the experience

  and dedication of the Specialist.

        Statement No. 5.      Both Defendant’s Plymouth and Grand Rapids locations

  have a time clock near the entrance doors used by the Specialists, who pass by this

  clock on their way to their other job activities. The purpose of the time clock is to

  confirm each Specialist’s attendance on the job for that day. Specialists confirm

  their attendance by placing their employee identification badges next to the clock,

  which electronically registers the time that this occurs.

        Statement No. 6.      The majority of Specialists, the majority of time, clock in

  in immediately upon entering the facility.

        Statement No. 7.      After entering the building, and usually immediately

  after clocking in, the Specialist walks over to the place where the handheld devices

  are kept in charging stations and takes the one that he or she will use for the day.

        Statement No. 8.      The handheld devices are used to keep track of the

  inventory of items on a Specialist’s vehicle and to record sales or rentals of items.




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        Statement No. 9.       After obtaining the hand-held device, the Specialist

  checks his or her mailbox for paperwork, some of which might be related to his route

  for that day.

        Statement No. 10.      After obtaining the handheld and checking his mailbox,

  the Specialist will walk to the warehouse to get the vehicle he will use for the day.

  The warehouse at the Plymouth facility is behind the front office while the

  warehouse at the Grand Rapids facility is right outside the front office door. The

  vehicle in the warehouse will have been loaded the night before by warehouse

  personnel with an inventory of items that had been specified by the Specialist at the

  end of the previous working day.

        Statement No. 11.      The items on the vehicles loaded by the warehouse staff

  will include products to be sold, or potentially sold, to customers that day on the

  Specialists’ routes. Any equipment, such as water coolers or coffee makers, will be

  loaded by the Specialists.

        Statement No. 12.      Of the products loaded onto vehicles, the large majority

  have not been pre-ordered, but are what the Specialists’ estimate customers will

  order on the routes. For example, of the 156,503 orders created between January 1,

  and April 30, 2023, 17,886 of them were pre-orders, or about 11.4% orders, and the

  remainder were created on the routes, about 88.6%.




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        Statement No. 13.     At the Plymouth facility, from the warehouse, the

  Specialist will then drive the vehicle to the street outside of the main office and park

  along the curb.

        Statement No. 14.     After parking the vehicle in front at Plymouth, the

  Specialist will then go back into the office to obtain coffee items, either coffee bags

  or K-cups, and place them on the vehicle, if those items are part of the planned

  inventory for his route.

        Statement No. 15.     The Specialist will then go get a manager and the

  Specialist and manager will perform a pre-trip safety inspection of the vehicle at

  front in Plymouth or in or by the warehouse at Grand Rapids.

        Statement No. 16.     After the safety inspection, the Specialist and manager

  will count together the inventory items on the vehicle. As this count is conducted,

  the Specialist will enter the number of each type of product and equipment into the

  handheld device.

        Statement No. 17.     Once the count is completed and the Specialist and

  manager agree on the inventory numbers, the Specialists will “check out” the vehicle

  using the handheld device. The time for the “check out” is recorded by the handheld

  device.

        Statement No. 18.     The series of job-related activities from entering the

  building to checking out the vehicle typically takes between 10 and 20 minutes for

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  the Plymouth facility and a few minutes less for Grand Rapids facility because the

  office and warehouse are closer to each. The variation in times mostly depend on

  the experience of the driver. The actual times may be longer due to non-work

  activities such as using the restroom.

        Statement No. 19.    After checking out the vehicle, the Specialist will then

  drive to the customers on his assigned route.

        Statement No. 20.    Sales Specialists have the same route assigned to them

  every day. Sales Specialist Trainees have different routes, depending on need, such

  taking over part of a Sales Specialist’s route who is on vacation.

        Statement No. 21.    Defendant provides each Specialist with an “optimized”

  route listing that orders customer stops to minimize driving mileage. Specialists are

  not required to follow this order and typically do not. Defendant does impose time

  limits or other requirements on how Specialists chose to drive their routes.

        Statement No. 22.    Specialists are free to take breaks at any time while

  driving on their routes. Defendant does not set a maximum time for the routes to be

  completed. Most specialists take a lunch break and many take both a breakfast and

  lunch break as well as other breaks.

        Statement No. 23.    Sales of products and sales and rentals of equipment

  occur at each customer stop. These sales occur in a number of different manners.




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        Statement No. 24.     For a residential customer buying 5-gallon water bottles,

  the customer will typically leave out a number of empty bottles, with the expectation

  that the Specialist will replace that same number with full bottles. Sometimes

  customers will leave notes or speak with the Specialist to state the number of bottles

  to order or equipment to rent or purchase. After the Specialist has left the full bottles

  or equipment, he will then record this number with the handheld device. Usually,

  the handheld device will then print out two copies of an invoice, one left for the

  customer and the other kept by the Specialist.            Some customers who pay

  electronically will not receive a printed invoice.

        Statement No. 25.     For customers who order coffee products, which are

  typically businesses, the Specialist will go in and speak with an employee of the

  business who will tell the Specialist the kind and number of products and, if

  applicable, equipment being ordered. After delivering these, the Specialist will

  likewise record the amounts with the handheld device, two invoices will be printed,

  and the time recorded.

        Statement No. 26.     Customers pay for products a number of different ways.

  Many pay by credit card at the end of the month that is kept on file. Others pay by

  ACH direct debit. Some mail in a check. Some give a check or cash directly to the

  Specialist when the products are delivered.




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        Statement No. 27.     At customer locations, Specialists have opportunities to

  increase the revenue from products ordered by customers. These activities are

  recommended and encouraged by Defendant, but not required. Increasing revenue

  from sales on the route increases the Specialist’s commissions. These activities

  include a) persuading the customer to purchase additional items, especially higher

  margin     products     that    earn     higher       commissions   (upselling)   b)

  suggesting/recommending additional or more frequent delivery dates, c) going to

  nearby homes and businesses to solicit new customers, and d) asking existing

  customers for referrals, e) working diligently to complete all of the customer stops

  on the route each day, and f) providing consistent good service that results in

  spontaneous referrals to new customers by current customers.

        Statement No. 28.     After stopping by their last customer, Specialists will

  return to the facility, driving into the warehouse.

        Statement No. 29.     Upon arriving at the warehouse, the Specialist will meet

  with a warehouse employee in Plymouth, or the manager in Grand Rapids, and count

  with that person the number of empty bottles on the vehicle and make an inventory

  of the unsold products. That inventory count is entered into the handheld device.

  When the count is complete the vehicle is then checked in using the handheld device.

  The handheld device records the time of this check in.




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        Statement No. 30.     Specialists typically sell about eighty percent of the

  inventory they leave the facility with at the beginning of their routes and thus have

  about twenty percent of that inventory remaining on their vehicles when they return.

        Statement No. 31.     After checking in their vehicles, the Specialists walk to

  the front office of the facility. Upon arriving, they first turn in any cash or checks

  they have received from customers. They then turn in copies of the invoices printed

  by the handheld devices.

        Statement No. 32.     After turning in cash, checks and invoices, the Specialists

  then synchronize their handheld devices by pressing a button on the devices, which

  causes all the data of handheld devices to be wirelessly uploaded into Defendant’s

  system. The Specialists then return the handheld devices to their charging stations.

        Statement No. 33.     After turning in the handheld devices, the Specialists

  meet with a manager to review what happened on the route. This review will include

  the Specialists informing the manager of any customer vacations or closures. During

  this review, the Specialists fill out a “load sheet,” which is used to tell the warehouse

  personnel what products and equipment to load onto the Specialists’ vehicles for the

  following working day. By filling out the load sheets, the Specialists are estimating

  the amount of product they are likely to sell the next time they go on their routes,

  with additional amounts added to take advantage of opportunities for increased sales.




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  Once the load sheet is filled out, the Specialists’ job responsibilities are complete for

  the day.

        Statement No. 34.     During the review with the managers after completing

  their routes for the day, many Specialists ask the manager for an estimate of the

  amount of commissions they earned for that day, which the manager can look up on

  the system.

        Statement No. 35.     The amount of time for work-related activities from

  checking in the vehicle in warehouse to completing the load sheets while meeting

  with the manager is typically 20-30 minutes in Plymouth and a few minutes shorter

  in Grand Rapids, with more experienced Specialists taking less time than the

  inexperienced. The actual times may be longer due to non-work activities such as

  using the restroom.

        DEFENDANT’S INTERROGATORY NOS. 4, 5 AND 6

        4.      Identify each specific calendar week You claim to have worked
                more than 40 hours during that week while employed by
                Absopure during the Relevant Time Period.

        5.      For each week identified in response to Interrogatory No. 4,
                describe the facts upon which You base that allegation,
                including the total number of hours You claim to have worked
                during that week, the total number of overtime hours You are
                claiming for that week, how You determined those hours, and
                identify any documents, communications or other evidence You
                claim support Your allegations concerning the hours You
                worked.



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        6.     For each week identified in response to Interrogatory No. 4,
               identify the total amount of overtime wages (or other wages,
               compensation or monies) that You claim to be owed and the
               reason You claim You were not properly paid and describe all
               calculation You used to come to the amount of overtime You
               claim to be owed.

        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 36.     Defendant has produced lists of the clock-in times for

  each Plaintiff. Attached as Exhibit B is a list of the bates ranges for those lists. For

  those times when a Specialist did not clock in immediately upon arrival, a manager

  typically filled in a rough estimate for when the Specialist arrived.

        Statement No. 37.     Defendant has provided a list of the handheld device

  check-out and check-in times for each Plaintiff on a document bearing bates stamp

  numbers ABS -003751-004195.

        DEFENDANT’S INTERROGATORY NO. 18

        18.    If You claim that You are or were not exempt from the overtime
               provisions of the FLSA pursuant to section 13(b)(1) of the FLSA (29
               U.S.C. § 213(b)(1)) as being an employee with respect to whom the
               Secretary of Transportation has power to establish qualifications,
               describe with specificity all of the bases for such claim including all of
               the facts, documents, and communications on which You are relying.

        DEFENDANT’S STATEMENTS OF FACT

        Defendant’s facts with respect to this interrogatory are contained in its

  answers to Opt-In Plaintiffs’ Interrogatories No. 3 and any supplements.



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        DEFENDANT’S INTERROGATORY NO. 19

        19.    Identify each day that You drove a vehicle for Absopure during
               the Relevant Time Period that weighed than 10,000 pounds or
               less and each day that you drove a vehicle that weighed 10,001
               pounds or more.

        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 38.    Produced concurrently with these Statements is a list of

  the vehicles, the weights of those vehicles, and the route numbers that each Plaintiff

  drove during the relevant time frame bearing bates number range ABS 003581-

  003738.


        DEFENDANT’S INTERROGATORY NO. 20

        20.    If You denied any of Absopure’s Requests For Admission served
               concurrently with these interrogatories, then, with respect to each such
               denial, describe Your reasons for denial. For example, if You deny
               either Absopure’s Request Nos. 5 or 6 regarding how your
               compensation was calculated, describe any inaccuracy, omission, or
               mischaracterization You claim is in the Request and what You claim
               is an accurate, complete, and properly characterized description.

        DEFENDANT’S STATEMENTS OF FACT

        The Court ordered that no response is needed for requests for admission.

        DEFENDANT’S INTERROGATORY NO. 21

        21.    While You were employed by Absopure, did You ever complain
               about any alleged violations of the FLSA to any supervisor or
               manager or of any other failure to pay You what You believed You
               were owed? If so, describe Your complaint, to whom You made it,
               and Absopure’s response
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        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 39.    Defendant has reviewed the personnel files for Plaintiffs

  and has not found records of complaints by Plaintiffs.

        DEFENDANT’S INTERROGATORY NOS. 22 AND 23

        22.   Other than the other Plaintiffs in this action, identify all
              individuals whom You believe support Your claims that You
              are entitled to overtime compensation.

        23.   For each individual listed in response to Interrogatory No. 17,
              describe Your understanding of the knowledge each person has
              that supports Your claims in this case.

        DEFENDANT’S STATEMENTS OF FACT

        Statement No. 40.    No individuals support Plaintiffs’ claims.

        DEFENDANT’S INTERROGATORY NO. 24

        24.   Identify each personal computer, mobile phone, or other
              electronic device (other than the hand-held device) capable of
              sending or receiving e-mails, text messages, data, or documents
              that You owned or used while You were employed by
              Absopure during the Relevant Time Period, , and identify the
              make and model of the devices, the operating systems, software
              and applications used by the devices, and the carriers or
              providers that facilitated data communication services for the
              devices, and please identify whose possession each computer,
              device, etc., currently resides.

        DEFENDANT’S STATEMENTS OF FACT

        The Court ordered that Plaintiffs do not need to respond to this interrogatory.




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  Dated: May 26, 2023                 Respectfully Submitted,

                                      ______________________
                                      Ronald G. Acho, P23913
                                      Cummings, McClorey, Davis, & Acho PLC
                                      17436 College Parkway
                                      Livonia, MI 48152
                                      T: (734) 261-2400
                                      F: (734) 261-4510
                                      E: racho@cmda-law.com




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                           CERTIFICATE OF SERVICE

        Julie A. Callahan hereby certifies that on May 26, 2023, a copy of

  DEFENDANT ABSOPURE WATER COMPANY, LLC’S STATEMENTS OF

  RELEVANT FACTS and this Certificate of Service was served upon the following:

  Michael N. Hanna, Esq.
  Morgan & Morgan, P.A.
  2000 Town Center, Suite 1900
  Southfield, MI 48075
  mhanna@forthepeople.com

  electronically (by email).

        I declare that the above statements are true to the best of my information,

  knowledge and belief.

                               /s/ Julie A. Callahan
                               JULIE A CALLAHAN




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                                   EXHIBIT A

             BATES RANGES FOR PLAINTIFFS’ DRIVING RECORDS

   Opt- In Plaintiff    Bates Range

   Aniol                002141 – 2143, 002149 - 2155     Absopure Opt-In PLS
                                                         Confidential Docs 1
                                                         (Bates

   A Armstead           002158 – 2163

   D Armstead           002165 - 2166

   Banks                002167 -2168

   Belonga              002169 – 2170, 002177-2179

   Brown                002181 – 2183, 002185-2190,
                        002192 – 2193, 002195

   Childs               002197 – 2198, 002202-2023,
                        002209 - 2210

   Clendennin           002211-2213, 002215-2217

   Fish                 002218 – 2225, 002228 – 2231,
                        002235 – 2236, 002240 – 2242,
                        002245-2246, 002250, 002254-
                        2257

   Householder          002258 - 2261

   Jacek                No driving record

   Jackson              002264 – 2268
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   Johnson              002269 - 2287

   Lammer               002291 - 2301

   Newkirk              002302 - 2307

   Okimoto              002308-2319

   Pemberton            002320 – 2331

   Perry                002332 - 2343

   Phipps               002344 - 2352, 002401-2412,
                        2414

   Redmer               002415 - 2421

   Rhodes               002422 - 2427

   Skonieczny           002428 - 2437

   Sujkowski            002438 – 2441

   Tampa                002442 – 2446

   Winconek             002447 – 2451

   Woldt                002452 - 2464
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                                   EXHIBIT B

                  BATES RANGES FOR CHECK-IN TIME LISTS

   Opt-In Plaintiff               Bates range
   Aniol 2018 Check In            001287 - 1297       Absopure Opt In PLS
                                                      Nonconfidential Docs 1
                                                      (bates 1284 -1526)
   Aniol 2019 Check In            001298-1308
   Aniol 2020 Check In            001309 - 1319
   Aniol 2021 Check In            001320 – 1330

   Aniol 2022 Check In            001331 - 1341

   A. Armstead 2018 Check In      001472 - 1475

   D. Armstead 2018 Check In      001490-1493

   Banks – 2018 Check In          001510 – 1513

   Belonga 2022-2023 Check In     001527 - 1537       Absopure Opt In PLS
                                                      Nonconfidential Docs 2
                                                      (bates 1526 - 1774)

   Childs 2019 Check In           001587
   Childs 2020 Check In           001588 – 1598
   Childs 2021 Check In           001599- 1609
   Childs 2022 Check In           001610 – 1620
   Childs 2023 Check In           001621 - 1624

   Clendennin – 2018 Check In     001648 – 1853

   Fish 2022/2023 Check In        001680 -1690
   Fish – 2021/2022 Check In      001691 – 1701
   Fish 2020/2021 Check In        001702 – 1712
   Fish 2020 Check In             001713 - 1716
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   Fish 2019 Check In             001717 – 1727
   Fish 2018 Check In             001728 - 1735

   Householder 2022 Check In      001736 – 1737

   Jacek 2018 Check In            001748 – 1749

   Jackson 2018-2019 Check In     001760 -17662

   Johnson 2022 – 1/30/2023       001785 - 1795       Absopure Opt In PLS
   Check In                                           Nonconfidential Docs 3
                                                      (bates 1775 - 1991 )
   Johnson 2023 Check In          001796 - 1798

   Lammer 2019 Check In           001799 - 1805

   Newkirk 2022 Check In          001826 – 1831

   Okimoto 2022 – 2023 Check In 001844 - 1854
   Okimoto 2021 -2022 Check In 001855 - 1861

   Pemberton 2022 Check In        001862 – 1865

   Perry 2018 Check In            001878 – 1885

   Phipps 2018 Check In           001898 – 1908
   Phipps 2019 Check In           001909 – 1919
   Phipps 2020 Check In           001920 – 1930
   Phipps 2021 Check In           001931 – 1937

   Redmer 2022 Check In           001954 - 1958

   Rhodes 2022 – 2023 Check IN    001983 – 1991
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   Skonieczny 2022-2023 Check     002005 – 2011       Absopure Opt In PLS
   In                                                 Nonconfidential Docs 4
                                                      (bates 1992 - 2119)

   Sujkowski 2022 -2023 Check     002012 – 2023
   In
   Sujkowski 2023 Check In        002024

   Tampa 2020 Check In            002037 – 2051
   Tampa 2021 Check In            002052 – 2063

   Winconek 2022-2023 Check In 002079 – 2089
   Winconek 2022 Check In      002090 – 2094

   Woldt 2022-2023 Check IN       002107 - 2108
